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                             UNITED STATES JUDICIAL PANEL
                                          on
                               MULTIDISTRICT LITIGATION


IN RE: LOUISIANA COASTAL ZONE
LAND LOSS LITIGATION                                                                  MDL No. 2856


                                ORDER DENYING TRANSFER


        Before the Panel:* Certain energy company defendants1 move under 28 U.S.C. § 1407 to
centralize pretrial proceedings in this litigation in the Eastern District of Louisiana. The litigation
consists of 41 actions, 29 in the Eastern District of Louisiana and 12 in the Western District of
Louisiana, as listed on Schedule A. The Panel has been notified of one additional action involving
related issues, which is pending in the Eastern District of Louisiana.

        Responding plaintiffs the Parishes of Plaquemines, Jefferson, Cameron, and St. Bernard, and
District Attorneys Keith Stutes and Bridget Dinvaut oppose centralization, as do plaintiff-intervenors
the State of Louisiana, through the Department of Natural Resources, Office of Coastal Management,
and its Secretary, Thomas F. Harris, and the State of Louisiana ex rel. Jeff Landry, Attorney General.
Defendant Cox Operating, L.L.C., supports centralization in the Eastern District of Louisiana.

        On the basis of the papers filed and the hearing session held, we conclude that centralization
is not necessary for the convenience of the parties and witnesses or to further the just and efficient
conduct of this litigation. The 41 actions broadly implicate certain common factual questions
concerning the reasons why five Louisiana parishes (Plaquemines, Cameron, Jefferson, St. Bernard,
and Vermilion) have been experiencing coastal land loss and other damage, and more specifically,
the extent, if any, to which defendants’ oil and gas exploration, production, and transportation


       *
         Judges Sarah S. Vance and Lewis A. Kaplan took no part in the decision of this matter.
Certain other Panel members have interests that normally would disqualify them under 28 U.S.C.
§ 455 from participating in the decision of this matter. Accordingly, the Panel invoked the Rule of
Necessity, and those members participated in the decision of this matter in order to provide the
forum created by the governing statute, 28 U.S.C. § 1407. See In re Adelphia Commc’ns Corp. Sec.
& Derivative Litig. (No. II), 273 F. Supp. 2d 1353 (J.P.M.L. 2003); In re Wireless Tel. Radio
Frequency Emissions Prods. Liab. Litig., 170 F. Supp. 2d 1356, 1357-58 (J.P.M.L. 2001).
       1
         Moving defendants are Chevron U.S.A., Inc., Chevron U.S.A. Holdings Inc., The
Texas Company, The Union Oil Company of California, Chevron Pipe Line Company,
 ConocoPhillips Company, Burlington Resources Oil & Gas Company LP, The Louisiana
Land and Exploration Company LLC, Exxon Mobil Corporation, Mobil Oil Exploration &
Producing Southeast, Inc., Atlantic Richfield Company, BP America Production Company, and
BP Products North America Inc.
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activities in those parishes have contributed to that loss. But each action involves oil and gas
operations conducted in a different “Operational Area,” and is brought against a different cast of
defendants. Moving defendants do not contend that the various oil and gas fields in these
Operational Areas were developed at the same time or operated in the same manner. Similarly,
defendants do not assert that other possible causes of land loss and damage are the same from
Operational Area to Operational Area. Although issues concerning federal and state regulation of
the oil and gas industry and certain industry practices may be common across the actions, the nature
of these cases suggests that most pretrial proceedings, particularly discovery, will be largely
individualized.

        Aside from the preponderance of individualized issues, centralization under Section 1407
does not appear necessary. Plaintiffs and plaintiff-intervenors represent that they are amenable to
Section 1404 transfer of the Western District of Louisiana cases to the Eastern District of Louisiana
for possible consolidation. Even if such transfer is not administratively practicable, as defendants
contend, the 41 cases are pending in two adjacent districts. Informal coordination by the involved
courts and cooperative efforts by counsel thus should be feasible to avoid or minimize duplicative
pretrial proceedings.

       IT IS THEREFORE ORDERED that the motion for centralization of these actions is denied.


                                       PANEL ON MULTIDISTRICT LITIGATION




                                                        Marjorie O. Rendell
                                                          Acting Chair

                                      Charles R. Breyer             Ellen Segal Huvelle
                                      R. David Proctor              Catherine D. Perry
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IN RE: LOUISIANA COASTAL ZONE
LAND LOSS LITIGATION                                          MDL No. 2856


                                   SCHEDULE A


          Eastern District of Louisiana

     PLAQUEMINES PARISH, ET AL. v. ROZEL OPERATING COMPANY, ET AL.,
           C.A. No. 2:18-05189
     JEFFERSON PARISH, ET AL. v. DESTIN OPERATING COMPANY, INC., ET AL.,
           C.A. No. 2:18-05206
     PARISH OF PLAQUEMINES, ET AL. v. HILCORP ENERGY COMPANY, ET AL.,
           C.A. No. 2:18-05210
     JEFFERSON PARISH, ET AL. v. ANADARKO E&P ONSHORE, LLC, ET AL.,
           C.A. No. 2:18-05213
     PLAQUEMINES PARISH, ET AL. v. EXCHANGE OIL & GAS CORPORATION,
           ET AL., C.A. No. 2:18-05215
     PLAQUEMINES PARISH v. RIVERWOOD PRODUCTION COMPANY, INC.,
           ET AL., C.A. No. 2:18-05217
     PLAQUEMINES PARISH, ET AL. v. JUNE ENERGY, INC., ET AL.,
           C.A. No. 2:18-05218
     PLAQUEMINES PARISH, ET AL. v. CHEVRON U.S.A., INC., ET AL.,
           C.A. No. 2:18-05220
     ST. BERNARD PARISH, ET AL. v. ATLANTIC RICHFIELD COMPANY, ET AL.,
           C.A. No. 2:18-05222
     JEFFERSON PARISH, ET AL. v. CHEVRON U.S.A. HOLDINGS, INC., ET AL.,
           C.A. No. 2:18-05224
     PLAQUEMINES PARISH v. GREAT SOUTHERN OIL & GAS CO., INC., ET AL.,
           C.A. No. 2:18-05227
     PLAQUEMINES PARISH v. NORTHCOAST OIL COMPANY, ET AL.,
           C.A. No. 2:18-05228
     PLAQUEMINES, ET AL. v. CONOCOPHILLIPS COMPANY, ET AL.,
           C.A. No. 2:18-05230
     PLAQUEMINES PARISH, ET AL. v. LINDER OIL COMPANY, ET AL.,
           C.A. No. 2:18-05231
     PLAQUEMINES PARISH, ET AL. v. DEVON ENERGY PRODUCTION COMPANY,
           L.P., ET AL., C.A. No. 2:18-05234
     PLAQUEMINES PARISH, ET AL. v. GOODRICH PETROLEUM COMPANY, LLC,
           ET AL., C.A. No. 2:18-05238
     PLAQUEMINES PARISH v. APACHE OIL CORPORATION, ET AL.,
           C.A. No. 2:18-05240
     JEFFERSON PARISH, ET AL. v. EQUITABLE PETROLEUM CORPORATION,
           ET AL., C.A. No. 2:18-05242
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MDL No. 2856 Schedule A (Continued)

      JEFFERSON PARISH v. ATLANTIC RICHFIELD COMPANY, ET AL.,
           C.A. No. 2:18-05246
      JEFFERSON PARISH v. CANLAN OIL COMPANY, ET AL., C.A. No. 2:18-05252
      PLAQUEMINES PARISH v. TOTAL PETROCHEMICALS & REFINING USA,
           INC., ET AL., C.A. No. 2:18-05256
      JEFFERSON PARISH v. EXXON MOBIL CORPORATION, ET AL.,
           C.A. No. 2:18-05257
      PLAQUEMINES PARISH v. BEPCO, L.P., ET AL., C.A. No. 2:18-05258
      PLAQUEMINES PARISH v. PALM ENERGY OFFSHORE, L.L.C., ET AL.,
           C.A. No. 2:18-05259
      PLAQUEMINES PARISH v. HELIS OIL & GAS COMPANY, LLC, ET AL.,
           C.A. No. 2:18-05260
      PLAQUEMINES PARISH, ET AL. v. CASKIDS OPERATING COMPANY, ET AL.,
           C.A. No. 2:18-05262
      PLAQUEMINES PARISH v. HHE ENERGY COMPANY, ET AL.,
           C.A. No. 2:18-05263
      PLAQUEMINES PARISH, ET AL. v. CAMPBELL ENERGY CORPORATION,
           ET AL., C.A. No. 2:18-05264
      PLAQUEMINES PARISH, ET AL. v. LLOG EXPLORATION & PRODUCTION
           COMPANY, LLC, ET AL., C.A. No. 2:18-05265

            Western District of Louisiana

      CAMERON PARISH, ET AL. v. AUSTER OIL & GAS, INC., ET AL.,
          C.A. No. 2:18-00677
      CAMERON PARISH, ET AL. v. BALLARD EXPLORATION CO., INC., ET AL.,
          C.A. No. 2:18-00678
      CAMERON PARISH, ET AL. v. BRAMMER ENGINEERING, INC., ET AL.,
          C.A. No. 2:18-00679
      CAMERON PARISH, ET AL. v. BURLINGTON RESOURCES OIL & GAS CO. LP,
          ET AL., C.A. No. 2:18-00682
      CAMERON PARISH, ET AL. v. ALPINE EXPLORATION COMPANIES, INC.,
          ET AL., C.A. No. 2:18-00684
      CAMERON PARISH, ET AL. v. BAY COQUILLE, INC., ET AL.,
          C.A. No. 2:18-00685
      CAMERON PARISH, ET AL. v. ATLANTIC RICHFIELD CO., ET AL.,
          C.A. No. 2:18-00686
      CAMERON PARISH, ET AL. v. BP AMERICA PRODUCTION COMPANY, ET AL.,
          C.A. No. 2:18-00687
      CAMERON PARISH, ET AL. v. APACHE CORP. OF DELAWARE, ET AL.,
          C.A. No. 2:18-00688
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MDL No. 2856 Schedule A (Continued)

      CAMERON PARISH, ET AL. v. ANADARKO E & P ONSHORE LLC, ET AL.,
           C.A. No. 2:18-00689
      CAMERON PARISH, ET AL. v. BEPCO, L.P., ET AL., C.A. No. 2:18-00690
      STUTES, ET AL. v. GULFPORT ENERGY CORP., ET AL.,
           C.A. No. 6:18-00691
